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                      Attorneys for Defendants
                    7 Larry Williamson, M.D., Ashley Komacsar,
                      Director of Nursing, and NaphCare, Inc.
                    8

                    9                                   UNITED STATES DISTRICT COURT

                   10                                        DISTRICT OF NEVADA

                   11 TERRELL DESHON KEMP, SR.,                            CASE NO. 2:18-cv-00169-RFB-BNW

                   12                      Plaintiff,
                                                                            STIPULATION TO EXTEND TIME TO
                   13             vs.                                          FILE REPLY IN SUPPORT OF
                                                                            DEFENDANTS LARRY WILLIAMSON,
                   14 LAS VEGAS METROPOLITAN POLICE                          M.D., ASHLEY KOMACSCAR, AND
                      DEPARTMENT; ET AL.                                     NAPHCARE, INC.’S MOTION FOR
                   15                                                       SUMMARY JUDGMENT DISCOVERY
                                Defendants.                                            (ECF No. 84)
                   16
                                                                                          (First Request)
                   17

                   18

                   19            IT IS HEREBY STIPULATED AND AGREED between Plaintiff, Terrell Deshon Kemp,

                   20 Sr., by and through his counsel, Trevor J. Hatfield, Esq., appearing pro bono publico, and

                   21 Defendants Larry Williamson, M.D., Ashley Komacsar, and NaphCare, Inc., by and through their

                   22 attorneys, S. Brent Vogel, Esq. and Katherine J. Gordon, Esq. of Lewis Brisbois Bisgaard & Smith

                   23 LLP, that the due date for Defendants’ Reply in Support of Motion for Summary Judgment (ECF

                   24 No. 84) be continued for a period of 30 days, up to and including December 2, 2021.

                   25            This requested extension is made by consent of the parties, in good faith, and not for the

                   26 purpose of any delay.

                   27 ….
LEWIS              28 ….
BRISBOIS
BISGAARD
& SMITH LLP
ATTORNEYS AT LAW
                        4888-1853-1585.1
                        Case 2:18-cv-00169-RFB-BNW Document 116 Filed 11/03/21 Page 2 of 4




                    1            Accordingly, Defendants Larry Williamson, M.D., Ashley Komacsar, and NaphCare, Inc.

                    2 will have up to and including December 2, 2021 to file their Reply in Support of Motion for

                    3 Summary Judgment (ECF No. 84).

                    4

                    5 Dated: this 1st day of November 2021.              Dated: this 2nd day of November 2021.
                      LEWIS BRISBOIS BISGAARD & SMITH                    HATFIELD LAW ASSOCIATES
                    6 LLP

                    7

                    8     /s/ Katherine J. Gordon                         /s/ Trevor J. Hatfield
                        S. BRENT VOGEL                                   TREVOR J. HATFIELD
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                        Las Vegas, Nevada 89118
                   12   Attorneys for Defendants Larry Williamson,
                        M.D., Ashley Komacsar, Director of Nursing,
                   13   and NaphCare, Inc.
                   14

                   15

                   16

                   17                                              ORDER
                   18            IT IS SO ORDERED:
                   19

                   20                                                 UNITED STATES MAGISTRATE JUDGE
                   21
                                                                             November 3, 2021
                                                                      DATED _________________________
                   22
                                                                      CASE NO.: 2:18-cv-00169-RFB-BNW
                   23

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LEWIS
BRISBOIS           28
BISGAARD
& SMITH LLP
ATTORNEYS AT LAW
                        4888-1853-1585.1                         Page 2 of 3
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From:                Trevor Hatfield
To:                  Gordon, Katherine
Cc:                  Freda Brazier; San Juan, Maria
Subject:             [EXT] Re: Kemp v. NaphCare, et al.
Date:                Tuesday, November 2, 2021 12:46:32 PM
Attachments:         Logo_e6253148-26a1-47a9-b861-6ac0ff0bc3c4.png



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Approved.

Trevor J. Hatfield, Esq.,
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On Mon, Nov 1, 2021 at 5:54 PM Gordon, Katherine <Katherine.Gordon@lewisbrisbois.com> wrote:

  Hi Trevor:



  Attached please find a proposed Stipulation and Order to extend the due date for Defendants’ Reply ISO their
  Motion for Summary Judgment to December 2, 2021. Please let us know if we have authority to use your
  electronic signature.



  Thank you-

  Katie



                                                     Katherine J. Gordon
                                                     Partner
                                                     Katherine.Gordon@lewisbrisbois.com

                                                     T: 702.693.4336 F: 702.893.3789

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                    1                                    CERTIFICATE OF SERVICE

                    2              Pursuant to FRCP 5(b), I certify that I am an employee of Lewis Brisbois Bisgaard &
                    3 Smith LLP, and that on this 2nd day of November, 2021 I did cause a true copy of

                    4 STIPULATION TO EXTEND TIME TO FILE REPLY IN SUPPORT OF DEFENDANTS

                    5 LARRY WILLIAMSON, M.D., ASHLEY KOMACSCAR, AND NAPHCARE, INC.’S

                    6 MOTION FOR SUMMARY JUDGMENT DISCOVERY (ECF No. 84) (First Request) to be

                    7 served via electronic service by the U.S. District Court CM/ECF system to the parties on the

                    8 Electronic Filing System.

                    9
                      Trevor J. Hatfield, Esq.                               Lyssa S. Anderson, Esq.
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                      Attorney for Plaintiff                                 landerson@kcnvlaw.com
                   14                                                        rdaniels@kcnvlaw.com
                                                                             Attorneys for Defendants
                   15
                                                                             Las Vegas Metropolitan Police Department,
                   16                                                        Sgt. Gregory Dawson, Captain Nita Schmidt
                                                                             and Officer Hugh Har
                   17

                   18

                   19                                           By     /s/ Maria T. San Juan
                                                                       An Employee of
                   20                                                  LEWIS BRISBOIS BISGAARD & SMITH LLP
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